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                                                        EXHIBIT D

                                             Lordstown Motors Corp., et al.
                                                    Case No. 23-10831
                                            Summary of Out of Pocket Expenses
                                        December 1, 2023 through December 31, 2023


                        Category                                                     Amount
                        Airfare                                                $              -
                        Lodging                                                $              -
                        Meals                                                  $              -
                        Ground Transportation                                  $              -
                        Miscellaneous                                          $              -
                                                Total                          $              -




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